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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


JOSEPH CALDWELL,

                Plaintiff,

vs.                                                              NO. 1:20-cv-00003 JB/JFR

UNIVERSITY OF NEW MEXICO BOARD OF
REGENTS, NASHA TORREZ,
EDDIE NUÑEZ,
LOBO DEVELOPMENT CORPORATION, and
ACC OP (UNM SOUTH) LLC,

                Defendants.

 DEFENDANT EDDIE NUÑEZ’S REPLY BRIEF IN SUPPORT OF HIS MOTION FOR
                   JUDGMENT ON THE PLEADINGS

        COMES NOW Defendant Eddie Nuñez, by and through his Counsel of Record, Park &

Associates, L.L.C. (Alfred A. Park and Lawrence M. Marcus), and hereby files this Reply Brief in

Support of his Motion for Judgment on the Pleadings. For his Reply, Mr. Nuñez STATES AS

FOLLOWS:

  I. PLAINTIFF HAS NOT DISPUTED THAT HE HAS NO LIBERTY OR PROPERTY
                INTEREST IN PLAYING COLLEGE ATHLETICS

        Mr. Nuñez is entitled to a judgment as a matter of law, because Plaintiff has not disputed

that his Complaint does not allege that Mr. Nuñez violated any of his liberty or property interests.

Lauck v. Campbell County, 627 F.3d 805, 811 (10th Cir. 2010) (In order to state a claim for such

a violation, a plaintiff must allege facts that, if true, show that he was deprived of a liberty or

property interest.) Plaintiff’s Complaint against Mr. Nuñez is that he suspended Plaintiff from the

basketball team. There is no liberty or property interest in the ability to play interscholastic sports.

Albach v. Odle, 531 F.2d 983 (10th Cir. 1976); Okla. High Sch. Athletic Ass’n v. Bray, 321 F.2d
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269 (10th Cir. 1963); Colo. Seminary (Univ. of Denver) v. Nat. Collegiate Athletic Ass’n, 417 F.

Supp. 885, 894-97 (D. Colo. 1976), affirmed Colo. Seminary (Univ. of Denver) v. Nat. Collegiate

Athletic Ass’n, 570 F.2d 320 (10th Cir. 1978). There is certainly no case law that would show that

the ability to play interscholastic sports is a clearly established right, as is required for a plaintiff

to overcome a government official’s qualified immunity. See, e.g., Pueblo Neighborhood Health

Ctrs. v. Losavio, 847 F.2d 642, 646 (10th Cir. 1988).

        Significantly, Plaintiff does not dispute this conclusion. Rather, in his Response, Plaintiff

attempts to shift his analysis from his suspension from the basketball team to his ban from campus.

However, Plaintiff still has not demonstrated that he has stated a claim against Mr. Nuñez, because

he has not alleged any facts that allow for the reasonable inference that Mr. Nuñez was involved

with his suspension from campus. Accordingly, Mr. Nuñez is entitled to judgment on the

pleadings.

    II. PLAINTIFF’S COMPLAINT DOES NOT ALLEGE THAT MR. NUÑEZ WAS
              INVOLVED WITH HIS SUSPENSION FROM CAMPUS

        Having essentially conceded that he does not have a liberty interest in being a member of

the basketball team, Plaintiff now claims that Mr. Nuñez was involved with the decision to bar

him from campus. However, Plaintiff’s cause of action against Mr. Nuñez must fail on those

grounds, as well. In his Complaint, Plaintiff notes that, at the meeting chaired by Mr. Nuñez, he

was reminded that he was suspended from campus, a fact of which he was already informed.

However, it does not follow that Mr. Nuñez was responsible for the campus ban. “Individual

liability under Section 1983 must be based on personal involvement in the alleged constitutional

violation.” Corona v. City of Clovis, 406 F. Supp. 1187, 1204 (D.N.M. 2019), citing Foote v.

Spiegel, 118 F.3d 1416, 1423 (10th Cir. 1997). Plaintiff’s Complaint contains no direct allegation

or reasonable inference that Mr. Nuñez was involved with the decision to ban Plaintiff from

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campus.

       First, Plaintiff’s complaint notes that Mr. Nuñez is the athletic director at UNM. First

Amended Complaint for Injunctive Relief and Damages, (“Complaint”) ¶ 9. It is not reasonable to

infer that the athletic director has any control over any other aspects of student life. Second,

Plaintiff’s Complaint contains several allegations that, if true, would demonstrate that the campus

ban was instituted by individuals other than Mr. Nuñez. Plaintiff alleges that he initially received

an email from Nasha Torrez stating that he was subject to an interim ban from campus. Complaint,

¶ 19. Further, the email noted that the matter was under the jurisdiction of the Office of Equal

Opportunity. Id., ¶ 20. While Plaintiff was reminded later that evening, at a meeting chaired by

Mr. Nuñez, that he was temporarily banned from campus, this was merely a restatement of

something he already knew. Id., ¶ 22-23. Moreover, the Complaint contains no facts stating that

Mr. Nuñez was involved with this decision in any way. When Plaintiff met with Ms. Torrez, he

was informed that the decision had been made by the Student Conduct Officer, an employee in her

office. Id., ¶¶ 40-41. Finally, Plaintiff notes in his Complaint that authority for an interim ban from

campus can be imposed by the Dean of Students, pursuant to Section 4.3 of the UNM Student

Grievance Procedure. Id., ¶ 39.

       This procedure states that “[t[he Dean of Students may immediately suspend a student (or

chartered student organization) and/or ban a student or visitor if the Dean concludes that the

person’s continued presence on the campus may endanger persons or property or may threaten

disruption of the academic process or other campus functions.” Student Grievance Procedure, from

The Pathfinder – UNM Student Handbook, attached hereto as Exh. A, § 4.3. While the Grievance

Procedure is outside of the Complaint, it was cited in the Complaint, so it is appropriate for this

Court to consider it in evaluating the instant Motion for Judgment on the Pleadings. This is



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consistent with Plaintiff’s allegation that the office of Dean of Students made the decision, and

also indicates that such an action, if it actually occurred, was proper under UNM procedures.

Section 4.3 does not provide for the participation of the athletic director in this decision.

Significantly, there is no allegation in the Complaint, or evidence in documents cited in the

complaint, that would give rise to a reasonable inference that Mr. Nuñez had any involvement in

the interim ban from campus to which Plaintiff alleges he was subjected. Accordingly, Mr. Nuñez

is entitled to judgment on the pleadings.

                                         V. CONCLUSION

         Plaintiff has failed to contest that he had no liberty or property interest in participation in

UNM’s basketball team. Moreover, he has failed to argue that he has stated a claim against Mr.

Nuñez based on his interim ban from campus. Accordingly, Defendant Eddie Nuñez respectfully

requests that this Honorable Court grant him judgment on the pleadings as to the above styled

cause.

                                                        Respectfully Submitted,

                                                        PARK & ASSOCIATES, LLC

                                                        /s/ Lawrence M. Marcus
                                                        Alfred A. Park
                                                        Lawrence M. Marcus
                                                        Attorney for Defendants Board of Regents of
                                                        the UNM, Eddie Nuñez, and Nasha Torrez
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I hereby certify that a true and correct copy
of the foregoing was served via CM/ECF
filing system to all counsel of record on this
   18th    day of March 2020 .


/s/ Lawrence M. Marcus
Lawrence M. Marcus

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